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individual, (“Plaintiffs”) by and through their attorneys, the Software Freedom Law Center, Inc.,

to recover damages arising from infringement of Plaintiffs' copyrights in the software program

known as BusyBoxTM by Best Buy Co., Inc., Samsung Electronics America, Inc., Westinghouse

Digital Electronics, LLC, JVC Americas Corporation, Western Digital Technologies, Inc., Robert

Bosch LLC, Phoebe Micro, Inc., Humax USA Inc., Comtrend Corporation, Dobbs-Stanford

Corporation, Versa Technology Inc., Zyxel Communications Inc., Astak Inc., and GCI

Technologies Corporation (“Defendants”) and to enjoin each Defendant's future infringement.

Specifically, each Defendant distributed and continues to copy, modify, or distribute Plaintiffs'

copyrighted BusyBox software without Plaintiffs' permission and despite the fact that Plaintiffs

notified each Defendant of its unlawful activity. Since each Defendant has infringed Plaintiffs'

copyrights, and since that infringement is ongoing, Plaintiffs seek damages, injunctive relief,

attorneys' fees, and all other appropriate remedies available under the law.



                                         THE PARTIES

       1. The Software Freedom Conservancy, Inc. is a 501(c)(3) tax exempt New York not-for-

profit corporation with a principal place of business at 1995 Broadway, 17th Fl., New York, New

York 10023. The Conservancy acts as the corporate home and fiscal sponsor for various free and

open source software (“FOSS”) projects. The Conservancy also serves as copyright enforcement

agent for the owners of rights in and to some of its member projects.


       2. Mr. Erik Andersen is a private individual with a residence in Springville, Utah. Mr.

Andersen develops, markets, distributes, and licenses computer software in a professional

capacity.


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       3. On information and belief, Best Buy Co., Inc., (“BestBuy”) is a Minnesota corporation

with its principal place of business at 7601 Penn Avenue South, Richfield, MN 55423-3645.


       4. On information and belief, Samsung Electronics America, Inc., (“Samsung”) is a New

York corporation with its principal place of business at 105 Challenger Road, Ridgefield Park,

NJ 07660.


       5. On information and belief, Westinghouse Digital Electronics, LLC, (“Westinghouse”)

is a California limited liability company with its principal place of business at 12150 Mora

Drive, Santa Fe Springs, CA 90670.


       6. On information and belief, JVC Americas Corporation (“JVC”) is a Delaware

corporation with its principal place of business at 1700 Valley Road, Wayne, NJ 07470.


       7. On information and belief, Western Digital Technologies, Inc., (“Western Digital”) is a

Delaware corporation with its principal place of business at 20511 Lake Forest Drive, Lake

Forest, CA 92630.


       8. On information and belief, Robert Bosch LLC (“Bosch”) is a Delaware limited

liability company with its principal place of business at 2800 South 25th Avenue, Broadview,

Illinois 60155.


       9. On information and belief, Phoebe Micro, Inc. (“Phoebe Micro”) is a California

corporation with its principal place of business at 47606 Kato Road, Fremont, CA 94538.


       10. On information and belief, Humax USA Inc. (“Humax”) is a Delaware corporation


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with its principal place of business at 17501 Von Karman Ave., Irvine, CA 92614.


       11. On information and belief, Comtrend Corporation (“Comtrend”) is a California

corporation with its principal place of business at 15375 Barranca Parkway, Suite C-104 Irvine,

CA 92618.


       12. On information and belief, Dobbs-Stanford Corporation (“Dobbs-Stanford”) is a

Texas corporation with its principal place of business at 2715 Electronic Lane, Dallas.TX 75220.


       13. On information and belief, Versa Technology Inc. (“Versa Tech.”) is a Nevada

corporation with its principal place of business at 4711 Chino Ave, Chino, CA 91710.


       14. On information and belief, ZyXEL Communications Inc. (“ZyXEL”) is a California

corporation with its principal place of business at 1130 North Miller Street, Anaheim, CA

92806-2001.


       15. On information and belief, Astak Inc. (“Astak”) is a California corporation with its

principal place of business at 1911 Hartog Drive San Jose, CA 95131.


       16. On information and belief, GCI Technologies Corporation (“GCI”) is a New Jersey

corporation with its principal place of business at 1 Mayfield Avenue, Edison, NJ 08837.


                               JURISDICTION AND VENUE


       17. This Court has subject matter jurisdiction over Plaintiffs' claims for copyright

infringement pursuant to 17 U.S.C. § 501 and 28 U.S.C. §§ 1331 and 1338(a).



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        18. This Court has personal jurisdiction over each Defendant pursuant to Rule 4(K)(1)(a)

of the Federal Rules of Civil Procedure and §§ 301 and 302 of the New York Civil Practice Law

and Rules. On information and belief, each Defendant (i) conducted and continues to conduct

substantial business in the State of New York; (ii) placed its allegedly infringing products into the

stream of commerce throughout the United States with the expectation that they will be used by

consumers in this judicial district, which products and services have been offered for sale and

used in New York and this judicial district; (iii) caused infringement to occur and continue to

occur in New York and in this judicial district; (iv) contracts to supply goods and services and/or

maintains offices within this judicial district; or, (v) owns or operates websites for the purposes

of distributing infringing electronic products or directly marketing, selling and supporting

various physical products to people in and residents of New York and in this judicial district.


        19. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), (c) and

1400(a) because a substantial part of the events giving rise to the claims asserted herein arise in

this district, and each Defendant, on information and belief, is and at all times was doing

business in this district.


                                  FACTUAL BACKGROUND


        20. Mr. Andersen is the author and developer of the BusyBox computer program, and the

owner of copyrights in that computer program. BusyBox is a single computer program that

comprises a set of computing tools and optimizes them for computers with limited resources,

such as cell phones, PDAs, and other small, specialized electronic devices.             BusyBox is

extremely customizable, fast, and flexible, and, on information and belief, is used in countless


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products sold by many manufacturers all over the world.


       21. Plaintiff Software Freedom Conservancy is a 501(c)(3) tax-exempt public charity

comprised of many FOSS projects. In addition to being the fiscal sponsor of its member

projects, the Conservancy also serves as copyright enforcement agent for some owners of

copyrights in the member projects. BusyBox is a project of the Software Freedom Conservancy,

which also acts as copyright enforcement agent for Mr. Andersen with respect to BusyBox.


       22. Mr. Andersen has distributed BusyBox since on or about November 4, 1999. He

distributes BusyBox in source code form, the human-readable form of a computer program that a

programmer must have in order to make changes to the program. Mr. Andersen distributes

BusyBox under a copyright license entitled the “GNU General Public License, Version 2” (“the

License”). A copy of the License is attached to this Complaint as Exhibit A.


       23. Under the License, Mr. Andersen grants certain permissions to other parties to copy,

modify and redistribute BusyBox so long as those parties satisfy certain conditions.          In

particular, Section 2(b) of the License, addressing each Licensee, states:

       You must cause any work that you distribute or publish, that in whole or in part
       contains or is derived from the Program or any part thereof, to be licensed as a
       whole at no charge to all third parties under the terms of this License.

Thus, if a Licensee redistributes a version of BusyBox, it may do so only under the terms of the

License. Distribution of BusyBox under any other terms or conditions is not allowed.


       24. The object code or executable form of a computer program is the form that can

actually be run on a computer, but which is not intelligible to the human reader and thus is not



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practicably modifiable. The License permits a Licensee to distribute BusyBox in object code or

executable form on the condition that the Licensee gives recipients access to the source code

corresponding to the version of BusyBox they are distributing in object code or executable form.

Specifically, section 3 of the License states:

       You may copy and distribute the Program (or a work based on it, under Section 2)
       in object code or executable form under the terms of Sections 1 and 2 above
       provided that you also do one of the following:

               a) Accompany it with the complete corresponding machine-readable
               source code, which must be distributed under the terms of Sections 1 and 2
               above on a medium customarily used for software interchange; or,

               b) Accompany it with a written offer, valid for at least three years, to give
               any third party, for a charge no more than your cost of physically
               performing source distribution, a complete machine-readable copy of the
               corresponding source code, to be distributed under the terms of Sections 1
               and 2 above on a medium customarily used for software interchange . . . .

Thus, to comply with the License, when a party distributes an object code or executable form of

BusyBox, they must include either (i) the “complete corresponding machine-readable source

code” or (ii) a “written offer ... to give any third party ... a complete machine-readable copy of

the corresponding source code.” If a distributor fails to do this, they are not fulfilling the terms

of the license and, thus, that distribution is not made with Mr. Andersen's permission.


       25. Plaintiffs have at no time granted any permission to any party to copy, modify, or

distribute BusyBox under any terms other than those of the License. Plaintiffs do not permit

anyone to distribute BusyBox except in compliance with the License.


       26. On information and belief, each Defendant sells electronic products, such as high

definition televisions, digital video recorders, DVD players, video cameras, wireless routers, etc.,



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that contain embedded executable forms of software, called “firmware,” or offers electronic

versions of firmware for download via their website. On information and belief, each Defendant

has distributed firmware – embedded in electronic products or by itself – that contains BusyBox

or a derivative work of BusyBox. Each Defendant is required to have Plaintiffs’ permission to

make such distributions. The only such permission available for BusyBox is the contingent one

granted under the License.


       27. On information and belief, each Defendant has distributed BusyBox within firmware

– embedded in electronic products or by itself – in a manner that does not comply with the

License.   Such firmware includes that for: BestBuy's Insignia NS-WBRDVD Blu-ray Disc

Player; Samsung's LN52A650 and LA26A450 LCD HDTV's; Westinghouse's TX-52F480S LCD

HDTV; JVC's LT-42P789 LCD HDTV and VN-C20U IP Network Camera; Western Digital's

WDBABF0000NBK WD TV HD Media Player; Bosch's DVR4C Security System DVR; Phoebe

Micro's Airlink101 AR670W and AR690W wireless routers and Airlink101 AICAP650W IP

Motion Wireless Camera; Humax's iCord HD HDTV DVR; Comtrend's CT-5621 and NexusLink

5631/ 5631E ADSL2+ bonded modems; Dobbs-Stanford's Frame Jazz EyeZone B1080P-2

digital media player; Versa Tech's PS-730 ITS Gateway and VX-BW2250 weatherproof dual

radio outdoor wireless access point; ZyXEL's P-663H-51 ADSL 2+ Bonded 4 Port Router;

Astak's CM-818DVR4V security camera system with DVR and CM-04DE and CM-04DEV

security system DVR devices; and, GCI's Cortex HDC-3000 digital music controller. Each

Defendant has therefore made and, on information and belief, continues to make distributions of

BusyBox without Plaintiff's permission.




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           28. In addition, under the License, any party that redistributes BusyBox in a manner that

 does not comply with the License immediately and automatically loses all rights granted under

 the License to copy and modify BusyBox. Specifically, section 4 of the License states:

           You may not copy, modify, sublicense, or distribute the Program except as expressly
           provided under this License. Any attempt otherwise to copy, modify, sublicense or
           distribute the Program is void, and will automatically terminate your rights under this
           License.

 Thus, once each Defendant made a distribution that did not comply with the License, that

 Defendant lost any and all right to copy, modify, or distribute BusyBox.                Any copying,

 modification, or distribution of BusyBox after that time by each Defendant was and is without

 Plaintiffs' permission.


           29. Prior to the filing of this complaint, Plaintiffs notified each Defendant of its unlawful

 conduct in writing. Each Defendant has either ignored or refused to meaningfully respond to

 Plaintiffs and, on information and belief, continues to copy, modify or distribute BusyBox in

 violation of Plaintiffs' exclusive rights under the Copyright Act. Because each Defendant was

 aware of its infringing activities from at least the date it received written notice from Plaintiffs,

 any copying, modification, or distribution of BusyBox after at least the date each Defendant

 received such notice was and is willful.


                                            CLAIM FOR RELIEF

                                COUNT I- COPYRIGHT INFRINGEMENT


           30. Plaintiffs reallege and restate paragraphs 1 through 30 as if more fully set forth

 herein.



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          31. Mr. Andersen is, and at all relevant times has been, a copyright owner under United

 States copyright law in the FOSS software program known as BusyBox. See, e.g., “BusyBox,

 v.0.60.3.”, Copyright Reg. No. TX0006869051 (10/2/2008).                Plaintiff Software Freedom

 Conservancy is the corporate home for the BusyBox project and the designated copyright

 enforcement agent for Mr. Andersen with respect to BusyBox.


          32. Each Defendant's distribution of products or firmware that contain BusyBox without

 approval or authorization by Plaintiffs infringes Plaintiffs' exclusive copyrights in BusyBox

 pursuant to 17 U.S.C. § 501.


          33. Plaintiffs are entitled to recover from each Defendant either (i) the amount of

 Plaintiffs' actual damages and any additional profits of each Defendant incurred as a result of the

 infringement or (ii) statutory damages. 17 U.S.C. § 504.


          34. Plaintiffs are also entitled to permanent injunctive relief pursuant to 17 U.S.C. § 502

 and to an order impounding any and all infringing materials pursuant to 17 U.S.C. § 503.

 Plaintiffs have no adequate remedy at law for each Defendant's wrongful conduct because,

 among other things, (a) Plaintiffs’ copyrights are unique and valuable property whose market

 value is impossible to assess, thus causing irreparable harm, (b) each Defendant’s infringement

 harms Plaintiffs such that Plaintiffs could not be made whole by any monetary award, and (c)

 each Defendant's wrongful conduct, and the resulting damage to Plaintiffs, is continuing.


          35. Plaintiffs are also entitled to recover their attorneys' fees and costs of suit. 17 U.S.C.

 § 505.



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                                           PRAYER FOR RELIEF


           WHEREFORE, Plaintiffs respectfully request judgment against each Defendant as

 follows:

           (1)   That the Court issue injunctive relief against each Defendant, and that each

 Defendant, its directors, principals, officers, agents, representatives, servants, employees,

 attorneys, successors and assigns, and all others in active concert or participation with each

 Defendant, be enjoined and restrained from copying, modifying, distributing or making any other

 infringing use of Plaintiffs’ software.

           (2) That the Court order each Defendant to pay Plaintiffs’ actual and consequential

 damages incurred or statutory damages;

           (3) That the Court order each Defendant to account for and disgorge to Plaintiffs all

 profits derived from its unlawful acts;

           (4) That the Court order each Defendant to pay Plaintiffs’ litigation expenses, including

 reasonable attorneys' fees and costs of this action; and

           (5) That the Court grant Plaintiffs any such further relief as the Court may deem just and

 proper.




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                                        Version 2, June 1991

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                                             Preamble


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applies to most of the Free Software Foundation’s software and to any other program whose authors
commit to using it. (Some other Free Software Foundation software is covered by the GNU Library
General Public License instead.) You can apply it to your programs, too.

When we speak of free software, we are referring to freedom, not price. Our General Public
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that you can change the software or use pieces of it in new free programs; and that you know you
can do these things.

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For example, if you distribute copies of such a program, whether gratis or for a fee, you must give
the recipients all the rights that you have. You must make sure that they, too, receive or can get
the source code. And you must show them these terms so they know their rights.

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which gives you legal permission to copy, distribute and/or modify the software.

Also, for each author’s protection and ours, we want to make certain that everyone understands
that there is no warranty for this free software. If the software is modified by someone else and
passed on, we want its recipients to know that what they have is not the original, so that any
problems introduced by others will not reflect on the original authors’ reputations.
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Finally, any free program is threatened constantly by software patents. We wish to avoid the danger
that redistributors of a free program will individually obtain patent licenses, in effect making the
program proprietary. To prevent this, we have made it clear that any patent must be licensed for
everyone’s free use or not licensed at all.

The precise terms and conditions for copying, distribution and modification follow.


    TERMS AND CONDITIONS FOR COPYING, DISTRIBUTION and MODIFICATION


  0) This License applies to any program or other work which contains a notice placed by the
     copyright holder saying it may be distributed under the terms of this General Public License.
     The “Program”, below, refers to any such program or work, and a “work based on the Pro-
     gram” means either the Program or any derivative work under copyright law: that is to say, a
     work containing the Program or a portion of it, either verbatim or with modifications and/or
     translated into another language. (Hereinafter, translation is included without limitation in
     the term “modification”.) Each licensee is addressed as “you”.
     Activities other than copying, distribution and modification are not covered by this License;
     they are outside its scope. The act of running the Program is not restricted, and the output
     from the Program is covered only if its contents constitute a work based on the Program
     (independent of having been made by running the Program). Whether that is true depends
     on what the Program does.

  1) You may copy and distribute verbatim copies of the Program’s source code as you receive
     it, in any medium, provided that you conspicuously and appropriately publish on each copy
     an appropriate copyright notice and disclaimer of warranty; keep intact all the notices that
     refer to this License and to the absence of any warranty; and give any other recipients of the
     Program a copy of this License along with the Program.
     You may charge a fee for the physical act of transferring a copy, and you may at your option
     offer warranty protection in exchange for a fee.

  2) You may modify your copy or copies of the Program or any portion of it, thus forming a work
     based on the Program, and copy and distribute such modifications or work under the terms
     of Section 1 above, provided that you also meet all of these conditions:

       a) You must cause the modified files to carry prominent notices stating that you changed
          the files and the date of any change.
       b) You must cause any work that you distribute or publish, that in whole or in part contains
          or is derived from the Program or any part thereof, to be licensed as a whole at no charge
          to all third parties under the terms of this License.
       c) If the modified program normally reads commands interactively when run, you must
          cause it, when started running for such interactive use in the most ordinary way, to print
          or display an announcement including an appropriate copyright notice and a notice that
          there is no warranty (or else, saying that you provide a warranty) and that users may
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        redistribute the program under these conditions, and telling the user how to view a copy
        of this License. (Exception: if the Program itself is interactive but does not normally
        print such an announcement, your work based on the Program is not required to print
        an announcement.)

   These requirements apply to the modified work as a whole. If identifiable sections of that
   work are not derived from the Program, and can be reasonably considered independent and
   separate works in themselves, then this License, and its terms, do not apply to those sections
   when you distribute them as separate works. But when you distribute the same sections as
   part of a whole which is a work based on the Program, the distribution of the whole must
   be on the terms of this License, whose permissions for other licensees extend to the entire
   whole, and thus to each and every part regardless of who wrote it.
   Thus, it is not the intent of this section to claim rights or contest your rights to work
   written entirely by you; rather, the intent is to exercise the right to control the distribution
   of derivative or collective works based on the Program. In addition, mere aggregation of
   another work not based on the Program with the Program (or with a work based on the
   Program) on a volume of a storage or distribution medium does not bring the other work
   under the scope of this License.

3) You may copy and distribute the Program (or a work based on it, under Section 2) in object
   code or executable form under the terms of Sections 1 and 2 above provided that you also do
   one of the following:

    a) Accompany it with the complete corresponding machine-readable source code, which
       must be distributed under the terms of Sections 1 and 2 above on a medium customarily
       used for software interchange; or,
    b) Accompany it with a written offer, valid for at least three years, to give any third
       party, for a charge no more than your cost of physically performing source distribution,
       a complete machine-readable copy of the corresponding source code, to be distributed
       under the terms of Sections 1 and 2 above on a medium customarily used for software
       interchange; or,
     c) Accompany it with the information you received as to the offer to distribute correspond-
        ing source code. (This alternative is allowed only for noncommercial distribution and
        only if you received the program in object code or executable form with such an offer,
        in accord with Subsection b above.)

   The source code for a work means the preferred form of the work for making modifications to
   it. For an executable work, complete source code means all the source code for all modules
   it contains, plus any associated interface definition files, plus the scripts used to control
   compilation and installation of the executable. However, as a special exception, the source
   code distributed need not include anything that is normally distributed (in either source or
   binary form) with the major components (compiler, kernel, and so on) of the operating system
   on which the executable runs, unless that component itself accompanies the executable.
   If distribution of executable or object code is made by offering access to copy from a designated
   place, then offering equivalent access to copy the source code from the same place counts as
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   distribution of the source code, even though third parties are not compelled to copy the
   source along with the object code.

4) You may not copy, modify, sublicense, or distribute the Program except as expressly provided
   under this License. Any attempt otherwise to copy, modify, sublicense or distribute the
   Program is void, and will automatically terminate your rights under this License. However,
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